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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION

 LYNNETTE J. KAISER, et al.,

                        Plaintiffs,

                v.                                      No. 3:20-cv-278-RLY-CSW

 ALCOA USA CORP.; RETIREES GROUP
 BENEFIT PLAN FOR CERTAIN HOURLY
 EMPLOYEES OF ALCOA USA CORP.;
 MEDICARE EXCHANGE HEALTHCARE
 REIMBURSEMENT PLAN FOR CERTAIN
 MEDICARE ELIGIBLE RETIREES OF
 ALCOA; and ALCOA MEDICARE PART B
 REIMBURSEMENT PLAN FOR CERTAIN
 MEDICARE ELIGIBLE RETIREES OF
 ALCOA USA,

                        Defendants.




                              NOTICE OF APPEAL
            TO THE U.S. COURT OF APPEALS FOR THE SEVENTH CIRCUIT

        Notice is hereby given that all Defendants hereby appeal to the United States Court of

 Appeals for the Seventh Circuit from the final judgment (ECF No. 182) entered in this action on

 March 28, 2025. This notice of appeal encompasses all orders merging in the final judgment, see

 Fed. R. App. P. 3(c)(4), including, without limitation, the Entry Granting Plaintiffs’ Partial Motion

 for Summary Judgment as to Liability and Granting in Part and Denying in Part Defendants’ Cross-

 Motion for Summary Judgment (ECF No. 166), entered on March 25, 2024; and the Entry Granting

 Plaintiffs’ Motion for Entry of Order of Judgment (ECF No. 180) and the Order Granting

 Permanent Injunction (ECF No. 181), both entered on March 28, 2025.


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 DATED: April 11, 2025                Respectfully submitted,


                                         /s/ Thomas Birsic

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                                 CERTIFICATE OF SERVICE

         I hereby certify that, on April 11, 2025, a copy of the foregoing was filed electronically.
 Service of this filing will be made on all ECF-registered counsel by operation of the court’s
 electronic filing system. Parties may access this filing through the court’s system.

                                               /s/ Thomas Birsic
                                                 Thomas Birsic
